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                             UNITED STATES DISTRICT COURT
                                       FOR THE                                   212' AUS - I NI It: OJ
                                 DISTRICT OF VERMONT                                     CLERK
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JANE DOE,                                           )
                                                    )
                Plaintiff,                          )
                                                    )
         V.                                         )      Case No. 2:22-cv-85
                                                    )
VERMONT LAW SCHOOL, ET AL.,                         )
                                                    )
                Defendants.                         )

                      ENTRY ORDER RE: SERVICE OF PROCESS
         On April 19, 2022, Plaintiff Jane Doe filed a Verified Complaint against
Defendants Vermont Law School, Shirley Jefferson, Heidi Remick, Joseph Brennan,
Beth McCormack, Jessica Durkis-Stokes, Maureen Moriarty, Ashley Zia, Cynthia W.
Lewis, Stephanie Willbanks, and Does 1 through 25. As of today's date, Plaintiff has not
filed proof of service of the Summons and Complaint.
         Pursuant to Fed. R. Civ. P. 4(m), failure to file a proof of service may be fatal to a
claim because "[i]f a defendant is not served within 90 days after the complaint is filed,
the court--on motion or on its own after notice to the plaintiff--must dismiss the action
without prejudice against that defendant or order that service be made within a specified
time."
         IT IS HEREBY ORDERED that on or before August 22, 2022, Plaintiff shall
provide the court with proof of service of the Summons and Complaint. FAILURE TO
DO SO SHALL RESULT IN THE DISMISSAL OF THIS CASE.
         Dated at Burlington, in the District of Vermont, this / sI- day of August, 2022.



                                                    Christina Reiss, District Judge
                                                    United States District Court
